Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 1 of 11




                           EXHIBIT R
      Case 1:25-cv-05201-JAV          Document 51-18           Filed 07/17/25        Page 2 of 11



From:                  Robert Reffkin[robert@compass.com]
Sent:                  Sat 4/26/2025 4:49:43 PM (UTC)
To:                    Glenn Kelman[glenn.kelman@redfin.com]
Cc:                    Errol Samuelson[errol@zillowgroup.com]
Subject:               Re: Apparently 714 Chenery was de-listed....do not know if that is a one off
                       however....




Got it. Thanks for checking. I appreciate it. I will let her know its her fault. Oh my!?!?

The 2 I have had the biggest conversations with are crmls (they publically said no in a 7 page
white paper) and NWMLS which also said no publicly. I have also asked the below.


Steller
Rebny rls
Fmls
Bright
Mred
East bay
Bareis
Sfar
Themls
Mlspin
Claw
HAR
Unlock mla (austin)
Ntreis
Canopy



Robert Reffkin
  Case 1:25-cv-05201-JAV            Document 51-18         Filed 07/17/25      Page 3 of 11



Founder & CEO
Compass
917-488-4898


On Sat, Apr 26, 2025 at 12:37 PM Glenn Kelman <glenn.kelman@redfin.com> wrote:

 The listing agent suppressed the listing from our feeds. She can change the setting in the
 MLS. Homes.com and Realtor.com may have ignored the listing agent’s wishes. Please let
 Meredith know, and if you could have your industry-relations person tell us which MLSs
 you’ve spoken to about home-owner controls on DOM, we’ll follow up. Best, Glenn

 Glenn Kelman (he) | Redfin | 206-819-7945 (cell)


 ---------- Forwarded message ---------
 From: Bridget Frey <bridget.frey@redfin.com>
 Date: Sat, Apr 26, 2025 at 9:00 AM
 Subject: Re: Apparently 714 Chenery was de-listed....do not know if that is a one off
 however....
 To: Glenn Kelman <glenn.kelman@redfin.com>
 CC: Rohit Misar <rohit.misar@redfin.com>


 Looks like the agent set this listing to not display on IDX. If they change these two flags on
 the listing, we will pick it up (and presumably Zillow will, too).
 "InternetEntireListingDisplayYN": change to true
 "IDXParticipationYN": change to true for IDX display or leave false for VOW display

 We tend to take a very strict view of these flags, respecting how agents want us to use their
 listing data, but other sites sometimes skip processing certain flags.

 Let us know if we can help with any other listings!
 -B


 On Sat, Apr 26, 2025 at 7:33 AM Glenn Kelman <glenn.kelman@redfin.com> wrote:

  Hi there, sorry to bother you on a weekend.
  Can we find out why this listing didn't appear on our site?
  I'm worried there's a bug somewhere in an importer.
  We should treat this with the same urgency as if it were one of our own listings.
  Glenn

  On Sat, Apr 26, 2025 at 7:03 AM Robert Reffkin <robert@compass.com> wrote:
Case 1:25-cv-05201-JAV           Document 51-18        Filed 07/17/25       Page 4 of 11



Thanks. Please me know if you need anything from my side to trouble shoot. I’ve heard
other agents say similar things.


Robert Reffkin
Founder & CEO
Compass
917-488-4898


On Sat, Apr 26, 2025 at 9:57 AM Glenn Kelman <glenn.kelman@redfin.com> wrote:

 We haven’t built any software to delist properties. So wow, they didn’t do it.

 Glenn Kelman (he) | Redfin | 206-819-7945 (cell)


 On Sat, Apr 26, 2025 at 5:51 AM Robert Reffkin <robert@compass.com> wrote:

  Passing along so that you can see. It would be helpful if you could let
  me know how to respond to agents on this as it’s not May yet and this
  listing is active in the MLS / IDX. Can you please look into and let us
  know what’s happening?
  On Fri, Apr 25, 2025 at 6:24 PM Meredith Martin <meredith.martin@compass.com>
  wrote:

  My clients pinged me about it yesterday see screenshot below and it is in contract now
  so it doesn’t matter to that agent - but it shows as pending on Compass realtor.com, the
  MLS, and Homes.com and was suddenly de-listed from Redfin and Zillow.


  Just an fyi.
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 5 of 11
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 6 of 11
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 7 of 11
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 8 of 11
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 9 of 11
Case 1:25-cv-05201-JAV   Document 51-18   Filed 07/17/25   Page 10 of 11
Case 1:25-cv-05201-JAV                Document 51-18   Filed 07/17/25   Page 11 of 11




 --

 Glenn Kelman (he) | Redfin | 206-819-7945 (cell)


--
BRIDGET FREY | REDFIN | CTO
bridget.frey@redfin.com | Tel:206-576-5894 | she/her
1099 Stewart Street, Suite 600 | Seattle, WA 98101
